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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION@

IN RE:@
                                                                   CHAPTER 11@
ALEXANDER E. JONES                                               CASE NO. 22-33553
         Debtor@



                      SPECIAL NOTICE OF APPEARANCE AND
                   REQUEST FOR SERVICE OF NOTICES AND PAPERS
        PLEASE TAKE NOTICE that Gibbons, P.C. hereby enters its special notice of

JYYNJ[JWLN $]QN eNotice of Appearancef% RW ]QN JKX_N-captioned adversary proceeding as counsel

for Discover Fund Management, Inc., a U.S. Virgin Islands corporation, pursuant to section 1109(b)

of title 11 of the United States Code, 11 U.S.C. §§ 101-1532 (as amended, the eBankruptcy Codef),

and Rules 2002, 9007, and 9010 of the Federal Rules of Bankruptcy Procedure (the eBankruptcy

Rulesf), and request that copies of any and all notices and papers filed or entered in this case be given

to and served upon the following:

                                Dale E. Barney, Esq.
                                GIBBONS P.C.
                                One Gateway Center
                                Newark, New Jersey 07102
                                Telephone: (973) 596-4500
                                Email: dbarney@gibbonslaw.com

        PLEASE TAKE FURTHER NOTICE that pursuant to section 1109(b) of the

Bankruptcy Code, this request includes not only the notices and papers referred to in the

Bankruptcy Rules, but also includes, without limitation, any notice, motion, proposed order,

application, petition, pleading, request, complaint, demand, memorandum, affidavit, declaration,

presentment, order to show cause, disclosure statement, and plan of reorganization, whether

formal or informal, whether written or oral, and whether transmitted or conveyed by mail, courier

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service, hand-delivery, telephone, facsimile, electronic mail, or otherwise, that is filed or given in

connection with the above-captioned cases and the proceedings therein.


       PLEASE TAKE FURTHER NOTICE that neither this Notice of Appearance nor any

prior or later appearance, pleading, or claim waives (i) any right to have final orders in non-core

matters entered only after de novo review by a district court judge; (ii) any right to trial by jury in

any proceeding so triable in this case or any case, controversy, or proceeding related to this case;

(iii) any right to have the United States District Court withdraw the reference in any matter subject

to mandatory or discretionary withdrawal; (iv) an election of remedies; or (v) any other

substantive or procedural right including without limitation jurisdictional defenses.


       PLEASE TAKE FURTHER NOTICE that this Notice of Appearance is without

prejudice to any other rights, claims, actions, defenses, setoffs, or recoupments under agreements,

in law, in equity, or otherwise, all of which rights, claims, actions, defenses, setoffs, and

recoupments against a debtor or any other entity either in these cases or in any other action are

expressly reserved.

Dated: November 21, 2024                           GIBBONS P.C.
Newark, New Jersey
                                               By: /s/ Dale E. Barney
                                                   Dale E. Barney, Esq
                                                   One Gateway Center
                                                   Newark, New Jersey 07102
                                                   Telephone: (973) 596-4500
                                                   Email: dbarney@gibbonslaw.com

                                                       Counsel to Discover Fund Management, Inc.




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              CERTIFICATION OF SERVICE PURSUANT TO 11 U.S.C. § 1746

       DALE E. BARNEY, of full age, under penalty of perjury, hereby certifies as follows:

       1.        I am an attorney-at-law of the State of New Jersey and a Director with Gibbons

P.C., counsel for Discover Fund Management, Inc. in the above-captioned Chapter 11 proceeding.

       2.        On November 2!, 2024, I caused a true and correct copy of the foregoing Special

Notice of Appearance and Request for Service of Notices and Papers to be served upon all parties

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            I certify that the foregoing is true and correct.



    Executed on: November 21, 2024                       /s/ Dale E. Barney
                                                         Dale E. Barney




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